






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00714-CR






Noopin Simcoe, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT

NO. D-1-DC-06202352, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING






O P I N I O N



		The trial court convicted Simcoe of burglary of a building and assessed punishment
at two years in a state jail facility, probated for three years with conditions of community
supervision.  See Tex. Penal Code Ann. § 30.02 (West 2003).  In two issues, Simcoe contends that
the trial court erred by failing to appoint an interpreter for her at trial and that the evidence is
factually insufficient to support the verdict.  We affirm.

		Georgiana Brown owns a mobile home and a storage shed on property located at 4806
Timber Creek Drive, Austin, Texas.  Brown testified that Simcoe owns rental property with a mobile
home on it at 4807 Timber Creek Drive, which is across the street from Brown's property, and that
Simcoe "actually lives around the corner on the next block."  On April 30, 2006, Brown visited her
property with her boyfriend, son, and daughter-in-law "to mow the grass and clean the yard."  She
testified that the mobile home on her property had been unoccupied for "about six or eight months"
prior to April 2006.  According to Brown, when they arrived at the property, she noticed that the
fence along the back of her property had been taken down.  She testified, "I could see the fence was
rolled up laying in front of the stairs in front of the mobile home across the street" on Simcoe's rental
property.  Brown testified that she went inside the mobile home on her property and discovered that
the stove, the refrigerator, and a cabinet were missing.  Brown called the police.

		Deputy Tipton Birdwell responded to Brown's call.  He testified that he met with
Brown and then "made contact with [Simcoe] and asked her if she had any knowledge of how the
fence ended up on her property."  Deputy Birdwell stated that "at that point [Simcoe] kind of went
off talking about prior instances where she was a victim and complained of a lot of other things" and
"then [Simcoe] said something about the owner of the property the fence came from owed her $300." 
According to Deputy Birdwell, Simcoe kept changing the subject when he inquired as to how the
fence got onto her property and eventually began yelling at him.  He testified that Simcoe said that
the prior renters had taken the fence but that he "knew the prior renters had been gone awhile." 
Upon further questioning, Simcoe changed her story again.  According to Deputy Birdwell, as he and
Brown were walking around the outside of Simcoe's rental property "[Brown] recognized what she
believed to be her refrigerator on the back deck of the rental property and roll of fence by the storage
shed and there was a brown picnic table that was back in the back of the storage shed that she
thought was hers also."  Simcoe refused to let Brown and Deputy Birdwell onto her rental property
and, at one point, came outside with a video camera and said, "I'll see you in court."

		Detective Scott Crowe testified that, after receiving the report from Deputy Birdwell
concerning the alleged theft of Brown's property, he decided to obtain a search warrant for Simcoe's
rental property.  He testified that he did not contact Simcoe prior to executing the search warrant
based on Birdwell's report of Simcoe's actions towards him.  Crowe testified, "I didn't think it
would be prudent to contact [Simcoe] and get the same attitude."  He also testified that he had driven
by Simcoe's rental property prior to executing the search warrant and had observed some of the items
described by Brown, including the chain link fence and the refrigerator, on Simcoe's property. 
According to Detective Crowe, on the day the search warrant was signed, he contacted Simcoe and
she allowed the officers onto the rental property.  He testified that "[t]he refrigerator was still on the
back porch" but that "the fencing that was in the front underneath the front porch was now gone and
the fencing in the backyard was now gone as well."  Simcoe led Detective Crowe around the inside
of the mobile home and explained to him that she was preparing the residence for her son, who had
recently been released from jail.  Detective Crowe testified that the stove in Simcoe's mobile home
matched the description of the stove that Brown had reported stolen from her property and that he
discovered a cabinet in Simcoe's laundry room matching the description of the cabinet Brown had
reported stolen.  He also discovered the missing fence in a storage shed in Simcoe's backyard. 
According to Detective Crowe, Simcoe originally told him that she had purchased the stove, but then
changed her story, claiming that a previous tenant by the name of Tracy Rickerson had stolen the
stove.  Crowe testified that he had reviewed the utility records for the property and that he did not
see anybody by the name of Tracy Rickerson in the records.  Detective Crowe placed Simcoe under
arrest for burglary.

		On May 26, 2006, Simcoe was indicted for burglary under section 30.02 of the Texas
Penal Code.  She waived a jury trial on a plea of not guilty.  At the bench trial, the State presented
four witnesses--Georgiana Brown, Deputy Birdwell, Detective Crowe, and Cindy Castillo, Brown's
next-door neighbor.  Simcoe testified in her own defense and called three character witnesses.  The
trial court found Simcoe guilty of burglary and sentenced her to two years in a state jail facility,
probated for three years with conditions of community supervision.

		In her first issue, Simcoe, who is originally from Thailand and speaks both Thai and
English, contends that the trial court erred by failing to appoint an interpreter for her at trial.  She
relies on the Texas Court of Criminal Appeals's opinion in Garcia v. State to support her argument. 
See 149 S.W.3d 135, 145 (Tex. Crim. App. 2004).  In Garcia, it was undisputed that the defendant,
Jose Garcia, did not speak English.  The pretrial proceedings were translated for Garcia by a sworn
interpreter, and defense counsel discussed Garcia's language difficulty during voir dire.  The trial
judge stated on the record that at "some point" during the guilt/innocence phase of the trial, he
became aware that the proceedings were not being translated for Garcia.  Id.  Garcia himself testified,
through an interpreter, that he had been unable to understand the complainant's testimony at trial. 
The court of criminal appeals held that "[s]ince the judge was aware that Garcia had difficulty
understanding English, the judge was required to ensure that the trial proceedings were translated
into a language which Garcia could understand, absent an effective waiver by Garcia."  Id.  The court
concluded that Garcia's Sixth Amendment right to confront the witnesses against him was violated
because Garcia did not knowingly or voluntarily waive his right to an interpreter.  In closing, the
court explained that Garcia "deserved more than to sit in total incomprehension as the trial
proceeded."  Id. (quoting United States ex re. Negron v. New York, 434 F.2d 386, 390
(2d&nbsp;Cir.&nbsp;1970)).

		In this case, Simcoe testified in English that she was born in Thailand and that she
moved to the United States in 1978.  She also testified that she learned how to speak English sixteen
years ago. Simcoe answered all of the questions posed to her by the prosecutor and by her own
attorney in English and offered various explanations of how the stolen property ended up on her
property in English.  During cross examination, however, the following exchange occurred between
the prosecutor, Simcoe, and the trial judge:


	[Prosecutor]:		Ms. Simcoe, did you know Tim Brown?


	[Simcoe]:		Yes.


	[Prosecutor]:		When did he die?


	[Simcoe]:		April.  Around April 1995 or 2005.


	[Prosecutor]:		Are you sure about that date or are you guessing? If his wife
stated that the day he died was November 14, 2004, do you
think that would be correct?


	[Simcoe]:		Yes, ma'am.


	[Prosecutor]:		And according to the papers that your attorney admitted into
evidence, you evicted Tracy Rickerson on September 21,
2005?


	[Simcoe]:		Yes, ma'am.  October of that 2005.


	[Prosecutor]:		And after Mr. Rickerson moved out of your house, did you
begin at that time to prepare it for your son to move into?


	[Simcoe]:		No, ma'am, my son in jail, county state jail.


	[Prosecutor]:		So after Mr. Rickerson moved out, was the property empty
until your son was released from jail?


	[Simcoe]:		Cannot lend again he abandoned my home.


	[Prosecutor]:		I'm sorry.


	[Simcoe]:		Cannot able to lend again.  Mr. Tracy Rickerson abandoned
my home.


	[Prosecutor]:		So it was vacant until your son moved in.  So no one lived
there between Mr. Rickerson and your son?


	[Simcoe]:		No, ma'am.


	[Prosecutor]:		Your Honor, may I approach the witness?


	[The Court]:		Yes.  Approach the bench first.

	

				(Discussion off the record)


	[The Court]:		Let's go [b]ack on the record.  Ms. Simcoe, do you
understand the questions being asked?


	[Simcoe]:		Some, sir.  I could say--I'm sorry.


	[The Court]:		Let's take a short recess to see if--I know we can't get
anybody here as an interpreter but to see if court
administration has access.  You are from Thailand?


	[Simcoe]:		Yes, sir.


	[The Court]:		Thailand.  That would be Thai.


	[Simcoe]:		Yes.


	[The Court]:		Let's just pause a few minutes.  Stella is going to call right
now.


After a recess, the prosecutor resumed questioning Simcoe, and Simcoe continued answering the
questions posed to her in English.  The record contains no further mention of requiring the services
of an interpreter for Simcoe.  On appeal, Simcoe contends that the exchange quoted above
demonstrates that the trial judge was aware that she did not understand English and, therefore, had
a duty to appoint an interpreter for her absent an effective waiver.

		This case differs from Garcia.  In Garcia, it was undisputed that Garcia did not speak
English.  Garcia testified through an interpreter that he did not understand the complainant's
testimony, which was in English and was not translated to him.  In holding that the trial court's
failure to appoint an interpreter for him at trial violated Garcia's constitutional rights, the court of
criminal appeals stated that "Garcia 'deserved more than to sit in total incomprehension as the trial
proceeded.'"  Id.  In this case, unlike Garcia, Simcoe testified that she understood and spoke
English.  She answered the questions posed to her in English.  Although Simcoe gave conflicting
answers to some of the questions posed to her, the record reflects that any confusion generated by
Simcoe's responses to questions was likely more a function of her attempts to create confusion rather
than an honest failure to understand the questions posed.  Moreover, both Deputy Birdwell and
Detective Crowe testified that they communicated with Simcoe in English.  According to Deputy
Birdwell, who had dealt with Simcoe approximately 15 or 20 times prior to the reported theft of
Brown's property, Simcoe was not hard to communicate with "[a]s long as she wasn't excited. 
When she is excited she talks a little fast, hard to understand."  The evidence at trial also established
that Simcoe, as a landlord, understood English well enough to contract with English-speaking tenants
and to procure an eviction from a justice of the peace when one of her tenants breached
the&nbsp;lease&nbsp;agreement.

		Although the record reflects one instance where the trial judge considered the issue
of whether Simcoe needed an interpreter, the record is silent as to the resolution of that issue.  We
have reviewed the record, including Simcoe's testimony.  Although the record demonstrates that
Simcoe often answered the questions posed to her in imperfect English and gave conflicting answers,
it does not demonstrate that Simcoe was unable to understand English or to participate in the trial
in a meaningful manner without the assistance of an interpreter.  Simcoe did not "sit in total
incomprehension as the trial proceeded" like the defendant in Garcia.  Id.  Under these
circumstances, the trial judge did not commit error when he allowed the trial to proceed without
appointing an interpreter.

		In her second issue, Simcoe contends that the evidence is factually insufficient to
support her conviction.  In a factual sufficiency review, we view the evidence in a neutral light and
ask whether a finder of fact was rationally justified in finding guilt beyond a reasonable doubt.  See
Watson v. State, 204 S.W.3d 404, 414 (Tex. Crim. App. 2006).  We then determine whether the
evidence supporting the verdict is so weak that the verdict is clearly wrong and manifestly unjust or
whether the verdict is against the great weight and preponderance of the evidence.  Id. at 415.  We
will not reverse a case on a factual sufficiency challenge unless we can say, with some objective
basis in the record, that the great weight and preponderance of the evidence contradicts the
verdict.&nbsp;&nbsp;Id. at 417.

		A person commits the offense of burglary if, without the effective consent of the
owner, the person enters a building (or any portion of a building) not then open to the public, with
intent to commit a theft.  See Tex. Penal Code Ann § 30.02(a)(1).  The finder of fact is exclusively
empowered to determine the issue of intent, and the events of a burglary may imply the intent with
which the defendant entered.  Moore v. State, 54 S.W.3d 529, 539 (Tex. App.--Fort Worth 2001,
pet. ref'd).  Thus, intent may be inferred from the defendant's conduct and surrounding
circumstances.  Id.

		In this case, Brown's next-door neighbor, Cindy Castillo, testified that she had seen
Simcoe on Brown's property "more than once" and had also seen Simcoe enter the storage shed on
Brown's property "more than once."  Castillo also testified that she had seen Simcoe removing the
fence from Brown's property as follows:


	[Prosecutor]:		Have you ever seen Ms. Simcoe remove items from Ms.
Brown's property?

	

	[Castillo]:		Yes.  Just the fence.

	

	[Prosecutor]:		What specifically did you see her doing?

	

	[Castillo]:		Well, when I was driving home from work one afternoon I
saw her putting up a fence in her--trying to put a fence in her
front yard.  I went and asked her because I am missing two
rows of fence.  I went to go ask her about it.  When I was
approaching her she was already coming back with some
more fence, like the bars of the fence.


	[Prosecutor]:		The poles?

	

	[Castillo]:		Yeah, the poles, and I had asked her--that's when I asked her
where did you get that fence from because I'm missing some
fence myself and she said oh, no, no, no, I got it from Tim
because Tim told me I could have it.

	

	[Prosecutor]:		When she used the name Tim, who was she referring to?

	

	[Castillo]:		Tim who is deceased.

	

	[Prosecutor]:		He previously owned which property?

	

	[Castillo]:		The one next door which Georgiana [Brown] now owns.

	

	[Prosecutor]:		And when she stated that he had given her permission, did
you ask her any further questions about how that had
happened?

	

	[Castillo]:		Yes, she told me spiritually he talks to her; his ghost talks to
her and she communicates with him all the time.

	

	[Prosecutor]:		At the time she made that comment, approximately how long
had Mr. [Tim] Brown been deceased?

	

	[Castillo]:		I would say it was probably six to seven months, around that
range.

	

	[Prosecutor]:		So when you encountered her, she had the fencing materials,
what property was she coming from at that time?

	

	[Castillo]:		Georgiana's.



In addition to this testimony, Deputy Birdwell testified that during his initial meeting with Simcoe,
she "said something about the owner of the property the fence came from owed her $300,"
essentially acknowledging that the fence had been taken from someone else's property.  However,
Brown testified that she did not give Simcoe permission to remove any items from her property,
storage shed, or mobile home.

		Although Simcoe offered various explanations of how the stolen property ended up
on her rental property--including that either her son, a former tenant, or Brown's son, Daniel Rice,
removed the items from Brown's property--the trial judge, as the sole judge of the credibility of the
witnesses and the weight of their testimony, was free to believe or disbelieve all or any part of
Simcoe's testimony.  See Williams v. State, 692 S.W.2d 671, 676 (Tex. Crim. App. 1984). 
Furthermore, the evidence adduced at trial, including Simcoe's testimony, showed that the mobile
home on Simcoe's rental property was unoccupied during the time period when the items were
removed from Brown's property and mobile home.  Although Brown testified that her son, Daniel
Rice, was the last person to live at the mobile home on her property and that "he did sell a shelter
that was on the property that was recovered," she also testified that the items that she reported stolen
were still in the mobile home at the time Rice moved out.  Brown also testified that Rice did not
have a key to the mobile home during the time period when the stolen items were removed from her
property and mobile home.  Viewing the record in a neutral light, we cannot say that the great weight
and preponderance of the evidence contradicts the verdict.  The evidence is factually sufficient to
support Simcoe's conviction for burglary.

		Affirmed.

						__________________________________________

						G. Alan Waldrop, Justice

Before Justices Patterson, Pemberton and Waldrop

Affirmed

Filed:   August 29, 2007

Publish


